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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

                                                                       )
    In re:                                                             ) Chapter 11
                                                                       )
    GYMBOREE GROUP, INC., et al., 1                                    ) Case No. 19-30258 (KLP)
                                                                       )
                              Debtors.                                 ) (Jointly Administered)
                                                                       )


                           SCHEDULE OF ASSETS AND LIABILITIES FOR
                               GYMBOREE DISTRIBUTION, INC.
                                   CASE NO. 19-30250 (KLP)




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      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
      Gymboree Group, Inc. (6587); Gymboree Intermediate Corporation (1473); Gymboree Holding Corporation
      (0315); Gymboree Wholesale, Inc. (6588); Gym-Mark, Inc. (6459); Gymboree Operations, Inc. (6463);
      Gymboree Distribution, Inc. (8669); Gymboree Manufacturing, Inc. (6464); Gymboree Retail Stores, LLC
      (6461); Gym-Card, LLC (5720); and Gymboree Island, LLC (1215). The Debtors’ service address is
      71 Stevenson Street, Suite 2200, San Francisco, California 94105.
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

                                                                  )
    In re:                                                        )         Chapter 11
                                                                  )
    GYMBOREE GROUP, INC., et al.,1                                )         Case No. 19-30258 (KLP)
                                                                  )
                              Debtors.                            )         (Jointly Administered)
                                                                  )

        GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODS, AND
       DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF ASSETS AND
             LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS


General

        The Schedules of Assets and Liabilities (collectively, the “Schedules”) and the Statements
of Financial Affairs (collectively, the “Statements” and, together with the Schedules, the
“Schedules and Statements”) filed by Gymboree Group Inc. (“Gymboree” or the “Company”) and
its debtor affiliates, as chapter 11 debtors in possession (collectively the “Debtors”) pending in the
United States Bankruptcy Court for the Eastern District of Virginia (the “Bankruptcy Court”) were
prepared, pursuant to section 521 of title 11 of the United States Code (the “Bankruptcy Code”)
and Rule 1007 of the Federal Rules of Bankruptcy Procedure, by management of the Debtors, with
the assistance of the Debtors’ advisors, and are unaudited.

        While the Debtors’ management has made reasonable efforts to ensure that the Schedules
and Statements are as accurate and complete as possible under the circumstances, based on
information available at the time of preparation, subsequent information or discovery may result
in material changes to these Schedules and Statements, and inadvertent errors, inaccuracies, or
omissions may have occurred. Because the Schedules and Statements contain unaudited
information, which is subject to further review, verification, and potential adjustment, there can be
no assurance that these Schedules and Statements are complete. The Debtors reserve all rights to
amend or supplement the Schedules and Statements from time to time, in all respects, as may be
necessary or appropriate, including, without limitation, the right to amend the Schedules and
Statements with respect to claim (as defined in section 101(5) of the Bankruptcy Code, “Claim”)
description, designation, or Debtor against which the Claim is asserted; dispute or otherwise assert
offsets or defenses to any Claim reflected in the Schedules and Statements as to amount, liability,

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priority, status, or classification; subsequently designate any Claim as “disputed,” “contingent,” or
“unliquidated;” or object to the extent, validity, enforceability, priority, or avoidability of any
Claim. Any failure to designate a Claim in the Schedules and Statements as “disputed,”
“contingent,” or “unliquidated” does not constitute an admission by the Debtors that such Claim
or amount is not “disputed,” “contingent,” or “unliquidated.” Listing a Claim does not constitute
an admission of liability by the Debtor against which the Claim is listed or against any of the
Debtors. Nothing contained in the Schedules and Statements shall constitute a waiver of any right
of the Debtors or an admission with respect to their chapter 11 cases (including, but not limited to,
issues involving claims, substantive consolidation, defenses, equitable subordination, and/or
causes of action arising under the provisions of chapter 5 of the Bankruptcy Code and any other
relevant non-bankruptcy laws to recover assets or avoid transfers).

       In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made every reasonable effort to ensure the accuracy and completeness of the
Schedules and Statements, subsequent information or discovery may result in material changes to
the Schedules and Statements. As a result, inadvertent errors or omissions may exist.

        The Debtors and their agents, attorneys and financial advisors do not guarantee or warrant
the accuracy or completeness of the data that is provided herein, and will not be liable for any loss
or injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether
negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating, or delivering the information contained herein. While commercially reasonable
efforts have been made to provide accurate and complete information herein, inadvertent errors or
omissions may exist. The Debtors and their agents, attorneys and financial advisors expressly do
not undertake any obligation to update, modify, revise, or re-categorize the information provided
herein, or to notify any third party should the information be updated, modified, revised, or re-
categorized. In no event will the Debtors or their agents, attorneys and financial advisors be liable
to any third party for any direct, indirect, incidental, consequential, or special damages (including,
but not limited to, damages arising from the disallowance of a potential claim against the Debtors
or damages to business reputation, lost business, or lost profits), whether foreseeable or not and
however caused, even if the Debtors or their agents, attorneys, and financial advisors are advised
of the possibility of such damages.

        The Schedules and Statements have been signed by Jon W. Kimmins, Chief Financial
Officer, and authorized agent at each of the Debtors. Accordingly, in reviewing and signing the
Schedules and Statements, Mr. Kimmins necessarily relied upon the efforts, statements, and
representations of the Debtors’ other personnel and professionals. Mr. Kimmins has not (and could
not have) personally verified the accuracy of each such statement and representation, including,
but not limited to, statements and representations concerning amounts owed to creditors,
classification of such amounts, and their addresses.

        Disclosure of information in one or more Schedules, one or more Statements, or one or
more exhibits or attachments to the Schedules or Statements, even if incorrectly placed, shall be
deemed to be disclosed in the correct Schedules, Statements, exhibits, or attachments. In the event
that the Schedules and Statements differ from the Global Notes, the Global Notes shall control.



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        These Global Notes and Statement of Limitations, Methodology, and Disclaimer
Regarding the Debtors’ Schedules and Statements (the “Global Notes”) are incorporated by
reference in, and comprise an integral part of, all of the Schedules and Statements, and should be
referred to and considered in connection with any review of the Schedules and Statements.2

                             Global Notes and Overview of Methodology

Description of the Cases and Information Date

        On January 16, 2019 (the “Petition Date”), the Debtors filed voluntary petitions for relief
under chapter 11 of the Bankruptcy Code in the Bankruptcy Court. The chapter 11 cases are being
jointly administered under Case No. 19-30258 (KLP) pursuant to an order entered on January 17,
2019 [Docket No. 60]. The Debtors continue to operate their business and manage their property
as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.
Notwithstanding the joint administration of the Debtors’ cases for procedural purposes, each
Debtor has filed its own Schedules and Statements. The asset information provided herein, except
as otherwise noted, represents the asset data of the Debtors as of January 5, 2019, the date of the
Debtors’ month end closure to their balance sheet prior to the Petition Date, and the liability data
of the Debtors as of the close of business on the Petition Date.

        On June 12, 2017, The Gymboree Corp. and several of its affiliates commenced chapter 11
cases (the “Prior Cases”) before the Court, which were jointly administered under the caption In
re The Gymboree Corp., No. 17-32986 (KLP). A plan of reorganization was confirmed in the Prior
Cases on September 7, 2017, and such plan went effective on September 29, 2017. On January 19,
2018, all of the Prior Cases, other than the case of The Gymboree Corporation, were closed. Unless
otherwise specified in the Schedules, Statements or Specific Notes, the responses contained in the
Schedules and Statements only relate to the period since the Debtors’ emergence from the Prior
Cases. Although the Debtors in these cases are distinct from the debtors in the Prior Cases and the
Debtors do not express any views with respect to the reliability or accuracy of information
contained in the Schedules and Statements filed by the debtors in the Prior Cases, such Schedules
and Statements may provide similar information relevant to the Debtors for earlier periods of time.

Basis of Presentation

        For financial reporting purposes, prior to the Petition Date, the Debtors prepared financial
statements that were consolidated by Debtor Gymboree Holding Corporation. Combining the
assets and liabilities set forth in the Debtors’ Schedules and Statements would result in amounts
that would be substantially different from financial information that would be prepared on a
consolidated basis under Generally Accepted Accounting Principles (“GAAP”). Therefore, these
Schedules and Statements do not purport to represent financial statements prepared in accordance
with GAAP nor are they intended to fully reconcile to the financial statements prepared by the
Debtors. Unlike the consolidated financial statements, these Schedules and Statements reflect the

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    These Global Notes supplement and are in addition to any specific notes contained in each Debtor’s Schedules or
    Statements. The fact that the Debtors have prepared a Global Note with respect to any of individual Debtor’s
    Schedules and Statements and not to those of another should not be interpreted as a decision by the Debtors to
    exclude the applicability of such Global Note to any of the Debtors’ other Schedules and Statements, as
    appropriate.



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assets and liabilities of each separate Debtor, except where otherwise indicated. Information
contained in the Schedules and Statements has been derived from the Debtors’ books and records
and historical financial statements.

        Moreover, given, among other things, the uncertainty surrounding the collection and
ownership of certain assets and the valuation and nature of certain liabilities, to the extent that a
Debtor shows more assets than liabilities, this is not an admission that the Debtor was solvent as
of the Petition Date or at any time prior to the Petition Date. Likewise, to the extent a Debtor
shows more liabilities than assets, this is not an admission that the Debtor was insolvent at the
Petition Date or any time prior to the Petition Date.

Amendment of Schedules and Statements

        While reasonable efforts have been made to prepare and file complete and accurate
Schedules and Statements, inadvertent errors or omissions may exist. The Debtors reserve all
rights to amend and/or supplement the Schedules and Statements from time to time as is necessary
or appropriate.

                 General Disclosures Applicable to Schedules and Statements

        1.      Causes of Action. Despite their reasonable efforts to identify all known assets, the
Debtors may not have listed all of their causes of action or potential causes of action against third
parties as assets in their Schedules and Statements, including, without limitation, avoidance actions
arising under chapter 5 of the Bankruptcy Code and actions under other relevant bankruptcy and
non-bankruptcy laws to recover assets. The Debtors reserve all of their rights with respect to any
cause of action (including avoidance actions), controversy, right of setoff, cross claim,
counterclaim, or recoupment and any claim on contracts or for breaches of duties imposed by law
or in equity, demand, right, action, lien, indemnity, guaranty, suit, obligation, liability, damage,
judgment, account, defense, power, privilege, license, and franchise of any kind or character
whatsoever, known, unknown, fixed or contingent, matured or unmatured, suspected or
unsuspected, liquidated or unliquidated, disputed or undisputed, secured or unsecured, assertable
directly or derivatively, whether arising before, on, or after the Petition Date, in contract or in tort,
in law or in equity, or pursuant to any other theory of law (collectively, “Causes of Action”) they
may have, and neither these Global Notes nor the Schedules and Statements shall be deemed a
waiver of any claims or Causes of Action or in any way prejudice or impair the assertion of such
claims or Causes of Action.

        2.      Recharacterization. The Debtors have made reasonable efforts to correctly
characterize, classify, categorize, and designate the claims, assets, executory contracts, unexpired
leases, and other items reported in the Schedules and Statements. However, the Debtors may have
improperly characterized, classified, categorized, designated or omitted certain items due to the
complexity and size of the Debtors’ business. Accordingly, the Debtors reserve all of their rights
to recharacterize, reclassify, recategorize, or redesignate items reported in the Schedules and
Statements at a later time as necessary or appropriate, including, without limitation, whether
contracts or leases listed herein were deemed executory or unexpired as of the Petition Date and
remain executory and unexpired postpetition.




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        3.       Claim Designations. Any failure to designate a claim in the Schedules and
Statements as “contingent,” “unliquidated,” or “disputed” does not constitute an admission by the
Debtors that such claim or amount is not “contingent,” “unliquidated,” or “disputed.” The Debtors
reserve all of their rights to dispute, or to assert offsets or defenses to, any claim reflected on their
Schedules or Statements on any grounds, including, but not limited to, amount, liability, priority,
status, or classification, or to otherwise subsequently designate any claim as “contingent,”
“unliquidated,” or “disputed.” Moreover, the Debtors reserve all of their rights to amend their
Schedules and Statements as necessary and appropriate. Listing a claim does not constitute an
admission of liability by the Debtors.

        4.     Unliquidated Claim Amounts. Claim amounts that could not be readily
quantified by the Debtors are scheduled as “unliquidated.”

       5.       Undetermined Amounts. The description of an amount as “undetermined” is not
intended to reflect upon the materiality of such amount.

        6.      Court Orders. Pursuant to certain orders of the Bankruptcy Court entered in the
Debtors’ chapter 11 cases entered on or about January 17, 2019, January 18, 2019 and
February 15, 2019 (collectively, the “First Day Orders”), the Debtors were authorized (but not
directed) to pay, among other things, certain prepetition claims of employees, critical service
providers, lienholders, exporters, importers, customer credits/refunds, and taxing authorities.
Accordingly, these liabilities may have been or may be satisfied in accordance with such orders
and therefore may not be listed in the Schedules and Statements. Regardless of whether such
claims are listed in the Schedules and Statements, to the extent such claims are paid pursuant to an
order of the Bankruptcy Court (including the First Day Orders), the Debtors reserve all rights to
amend or supplement their Schedules and Statements to reflect such payment as is necessary and
appropriate to avoid overpayment or duplicate payment for such liabilities.

        7.      Other Paid Claims. To the extent the Debtors have reached any postpetition
settlement with a vendor or other creditor, the terms of such settlement will prevail, supersede
amounts listed in the Debtors’ Schedules and Statements, and shall be enforceable by all parties,
subject to any necessary Bankruptcy Court approval. To the extent the Debtors pay any of the
claims listed in the Schedules and Statements pursuant to any orders entered by the Bankruptcy
Court, the Debtors reserve all rights to amend and supplement the Schedules and Statements and
take other action, such as filing claims objections, as is necessary and appropriate to avoid
overpayment or duplicate payment for such liabilities.

        8.      Valuation. It would be prohibitively expensive, unduly burdensome, and an
inefficient use of estate assets for the Debtors to obtain current market valuations of all of their
assets. Accordingly, unless otherwise indicated, net book values as of January 5, 2019 are
reflected on the Schedules and Statements. Exceptions to this include operating cash and certain
other assets. Operating cash is presented at bank balance as of the Petition Date. Certain other
assets, such as investments in subsidiaries and other intangible assets, are listed at undetermined
amounts, as the net book values may differ materially from fair market values. Amounts ultimately
realized may vary from net book value (or whatever value was ascribed) and such variance may
be material. Accordingly, the Debtors reserve all of their rights to amend or adjust the value of
each asset set forth herein. In addition, the amounts shown for total liabilities exclude items


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identified as “unknown” or “undetermined,” and, thus, ultimate liabilities may differ materially
from those stated in the Schedules and Statements. Also, assets that have been fully depreciated
or that were expensed for accounting purposes either do not appear in these Schedules and
Statements or are listed with a zero-dollar value, as such assets have no net book value. The
omission of an asset from the Schedules and Statements does not constitute a representation
regarding the ownership of such asset, and any such omission does not constitute a waiver of any
rights of the Debtors with respect to such asset. Given, among other things, the current market
valuation of certain assets and the valuation and nature of certain liabilities, nothing in the Debtors’
Schedules and Statements shall be, or shall be deemed to be an admission that any Debtor was
solvent or insolvent as of the Petition Date.

       9.      Liabilities. The Debtors have sought to allocate liabilities between the prepetition
and postpetition periods based on the information and research that was conducted in connection
with the preparation of the Schedules and Statements. As additional information becomes
available and further research is conducted, the allocation of liabilities between prepetition and
postpetition periods may change. The Debtors reserve the right to amend the Schedules and
Statements as they deem appropriate in this regard.

        10.     Excluded Assets and Liabilities. The Debtors have excluded certain categories of
assets, tax accruals, and liabilities from the Schedules and Statements, including without
limitation, certain intercompany transactions, accrued salaries, certain employee benefit accruals
and accrued accounts payable. In addition and as set forth above, the Debtors have excluded
certain amounts for which the Debtors have been granted authority to pay pursuant to a First Day
Order or other order that may be entered by the Bankruptcy Court. The Debtors also have excluded
rejection damage claims of counterparties to executory contracts and unexpired leases that may be
rejected (if any), to the extent such damage claims exist or may exist. Also, certain immaterial
assets and liabilities may have been excluded.

        11.     Confidential or Sensitive Information. There may be instances in which certain
information in the Schedules and Statements intentionally has been redacted due to the nature of
an agreement between a Debtor and a third party, concerns about the confidential or commercially
sensitive nature of certain information, or concerns for the privacy of an individual. The alterations
will be limited to only what is necessary to protect the Debtor or third party.

        12.     Leases. The Debtors have not included in the Schedules and Statements the future
obligations of any capital or operating leases. To the extent that there was an amount outstanding
as of the Petition Date, the creditor has been included on Schedule F of the Schedules.

        13.     Contingent Assets. The Debtors believe that they may possess certain claims and
causes of action against various parties. Additionally, the Debtors may possess contingent claims
in the form of various avoidance actions they could commence under the provisions of chapter 5
of the Bankruptcy Code and other relevant non-bankruptcy laws. The Debtors, despite reasonable
efforts, may not have set forth all of their causes of action against third parties as assets in their
Schedules and Statements. The Debtors reserve all of their rights with respect to any claims, causes
of action, or avoidance actions they may have and nothing contained in these Global Notes or the
Schedules and Statements shall be deemed a waiver of any such claims, avoidance actions, or
causes of action or in any way prejudice or impair the assertion of such claims.


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        The Debtors may also possess contingent and unliquidated claims against affiliate Debtor
entities for various financial accommodations and similar benefits they have extended from time
to time, including contingent and unliquidated claims for contribution, reimbursement, and/or
indemnification arising from, among other things, (i) letters of credit, (ii) notes payable and
receivable, (iii) surety bonds, (iv) guarantees, (v) indemnities, and (vi) warranties. Additionally,
prior to the relevant Petition Date, each Debtor, as plaintiff, may have commenced various lawsuits
in the ordinary course of its business against third parties seeking monetary damages. Refer to
each Statement, item 4(a)(i), for lawsuits commenced prior to the relevant Petition Date in which
the Debtor was a plaintiff.

       14.     Receivables and Payables. The Debtors have not listed individual customer
accounts receivable balance information as the Company considers its customer list to be
proprietary and confidential.

        15.    Intercompany Accounts. The Debtors record intercompany assets and liabilities
through intercompany trade (includes trade and other business-related transactions) accounts,
where they are reflected as receivables and payables. Intercompany trade accounts record sales-
type transactions between Gymboree’s subsidiaries and affiliates. The Debtors have eliminated
intra-company activity within each legal entity, and intercompany balances are reported in the
Schedules on a net basis. For additional information regarding the Debtors’ intercompany
transactions and related cash management protocols, see Debtors’ Motion for Entry of Interim and
Final Orders (I) Authorizing the Debtors to (A) Continue to Operate Their Cash Management
System, (B) Maintain Existing Bank Accounts, and (C) Perform Intercompany Transactions,
(II) Granting a Waiver of (A) the Requirements of Section 345(b) of the Bankruptcy Code and
(B) Certain of the U.S. Trustee’s Operating Guidelines, (III) Scheduling a Hearing to Consider
Entry of a Final Order, and (IV) Granting Related Relief [Docket No. 10] (the “Cash Management
Motion”).

        16.     Guarantees and Other Secondary Liability Claims. The Debtors have used
reasonable efforts to locate and identify guarantees and other secondary liability claims
(collectively, “Guarantees”) in each of their executory contracts, unexpired leases, secured
financings, debt instruments, and other such agreements. Where such Guarantees have been
identified, they have been included in the relevant Schedule H for the Debtor or Debtors affected
by such Guarantees. However, certain Guarantees embedded in the Debtors’ executory contracts,
unexpired leases, secured financings, debt instruments, and other such agreements may have been
inadvertently omitted. Thus, the Debtors reserve all of their rights to amend the Schedules to the
extent that additional Guarantees are identified.

        17.     Intellectual Property Rights. Exclusion of certain intellectual property shall not
be construed to be an admission that such intellectual property rights have been abandoned, have
been terminated, or otherwise have expired by their terms, or have been assigned or otherwise
transferred pursuant to a sale, acquisition, or other transaction. Conversely, inclusion of certain
intellectual property shall not be construed to be an admission that such intellectual property rights
have not been abandoned, have not been terminated, or otherwise have not expired by their terms,
or have not been assigned or otherwise transferred pursuant to a sale, acquisition, or other
transaction. The Debtors have made every effort to attribute intellectual property to the rightful
Debtor owner, however, in some instances, intellectual property owned by one Debtor may, in


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fact, be owned by another. Accordingly, the Debtors reserve all of their rights with respect to the
legal status of any and all intellectual property rights.

        18.     Executory Contracts. Although the debtors made diligent efforts to attribute an
executory contract to its rightful Debtor, in certain instances, the Debtors may have inadvertently
failed to do so. Accordingly, the Debtors reserve all of their rights with respect to the named
parties of any and all executory contracts, including the right to amend Schedule G.

        19.    Liens. The inventories, property, and equipment listed in the Statements and
Schedules are presented without consideration of any asserted mechanics’, materialmen, or similar
liens that may attach (or have attached) to such inventories, property, and equipment.

       20.    Estimates. To prepare and file the Schedules as close to the Petition Date as
possible, management was required to make certain estimates and assumptions that affected the
reported amounts of these assets and liabilities. The Debtors reserve all rights to amend the
reported amounts of assets and liability to reflect changes in those estimates or assumptions.

       21.     Fiscal Year. Effective July 13, 2017, the Debtors’ predecessors in interest elected
to change their fiscal year to begin and end on the Saturday closest to the end of January. The
Debtors’ Fiscal Year 2017 was only for the period beginning September 29, 2017, the date they
came into existence and emerged from their predecessors’ chapter 11 cases, and ending
February 3, 2018. The Debtors’ Fiscal Year 2018 was for the 12-month period beginning
February 4, 2018 and ending February 2, 2019.

       22.     Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

       23.     Property and Equipment. Unless otherwise indicated, owned property and
equipment are stated at net book value. The Debtors may lease furniture, fixtures, and equipment
from certain third party lessors. Any such leases are set forth in the Schedules and Statements.
Nothing in the Schedules and Statements is or shall be construed as an admission as to the
determination as to the legal status of any lease (including whether any lease is a true lease or a
financing arrangement), and the Debtors reserve all of their rights with respect to same.

       24.     Inventory. Merchandise inventories are recorded at cost, determined on a
weighted-average basis. The Debtors record an inventory shrink adjustment based upon physical
counts and also provide for estimated shrink adjustments for the period between the last physical
inventory count and each balance sheet date. The inventory shrink estimate can be affected by
changes in merchandise mix and changes in actual shrink trends.

         25.    Claims of Third-Party Related Entities. While the Debtors have made every
effort to properly classify each claim listed in the Schedules as being either disputed or undisputed,
liquidated or unliquidated, and contingent or noncontingent, the Debtors have not been able to
fully reconcile all payments made to certain third parties and their related entities on account of
the Debtors’ obligations to same. Therefore, to the extent that the Debtors have classified their
estimate of claims of a creditor as disputed, all claims of such creditor’s affiliates listed in the
Schedules and Statements shall similarly be considered as disputed, whether or not they are
designated as such.



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        26.     Interest in Subsidiaries and Affiliates. Debtor Gymboree Holding Corporation
is a holding company with Debtor Gymboree Intermediate Corporation being a wholly-owned
direct subsidiary. In turn, Gymboree Group, Inc. is a wholly-owned direct subsidiary of Gymboree
Intermediate Corporation. With the exception of Gym-Card, LLC, which is the wholly-owned
direct subsidiary of Gymboree Retail Stores, LLC, each of the other seven Debtors are wholly-
owned direct subsidiaries of Gymboree Group, Inc. Each Debtor’s Schedule A/B15 or
Statement 25 contains a listing of the current capital structure of the Debtors and includes
ownership interests.

        27.    Umbrella or Master Agreements. Contracts listed in the Schedules and
Statements may be umbrella or master agreements that cover relationships with some or all of the
Debtors. Where relevant, such agreements have been listed in the Schedules and Statements only
of the Debtor that signed the original umbrella or master agreement.

        28.    Credits and Adjustments. The claims of individual creditors for, among other
things, goods, products, services, or taxes are listed as the amounts entered on the Debtors’ books
and records and may not reflect credits, allowances, or other adjustments due from such creditors
to the Debtors. The Debtors reserve all of their rights with regard to such credits, allowances, and
other adjustments, including the right to assert claims objections and/or setoffs with respect to the
same.

        29.     Setoffs. The Debtors incur certain setoffs and other similar rights during the
ordinary course of business. Offsets in the ordinary course can result from various items,
including, without limitation, intercompany transactions, pricing discrepancies, returns,
warranties, and other disputes between the Debtors and their suppliers. These offsets and other
similar rights are consistent with the ordinary course of business in the Debtors’ industry and are
not tracked separately. Therefore, although such offsets and other similar rights may have been
accounted for when certain amounts were included in the Schedules, offsets are not independently
accounted for, and as such, are excluded from the Schedules.

        30.     Insiders. For purposes of the Schedules and Statements, the Debtors define
“insiders” to include the following: (a) directors; (b) officers; (c) shareholders holding in excess
of 20% of the voting shares of one of the Debtor entities (whether directly or indirectly);
(d) relatives of directors, officers or shareholders of the Debtors (to the extent known by the
Debtors); and (e) Debtor/non-Debtor affiliates.

        Persons listed as “insiders” have been included for informational purposes only. The
Debtors do not take any position with respect to: (a) such person’s influence over the control of
the Debtors; (b) the management responsibilities or functions of such individual; (c) the decision
making or corporate authority of such individual; or (d) whether such individual could successfully
argue that he or she is not an “insider” under applicable law, including the federal securities laws,
or with respect to any theories of liability or for any other purpose.

        31.    Controlling Shareholders. For purposes of the Schedules and Statements, the
Debtors define “controlling shareholders” to include entities that directly hold in excess of 20% of
the voting shares of the applicable Debtor entity. Entities listed as “controlling shareholders” have
been included for informational purposes only. The Debtors do not take any position with respect


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to such entity’s influence over the control of the Debtors or whether such entity could successfully
argue that it is not a “controlling shareholder” under applicable law, including the federal securities
laws, or with respect to any theories of liability or for any other purpose.

       32.     Payments. The financial affairs and business of the Debtors are complex. Prior to
the Petition Date, the Debtors maintained a cash management and disbursement system in the
ordinary course of their businesses (the “Cash Management System”) (as described in the Cash
Management Motion). Although efforts have been made to attribute open payable amounts to the
correct legal entity, the Debtors reserve the right to modify or amend their Schedules and
Statements to attribute such payment to a different legal entity, if appropriate.

        33.     Totals. All totals that are included in the Schedules and Statements represent totals
of all the known amounts included in the Schedules and Statements. To the extent there are
unknown or undetermined amounts, the actual total may be different than the listed total. The
description of an amount as “unknown” or “undetermined” is not intended to reflect upon the
materiality of such amount. To the extent a Debtor is a guarantor of debt held by another Debtor,
the amounts reflected in these Schedules are inclusive of each Debtor’s guarantor obligations.




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General Notes Regarding Schedule A/B

The Debtors transfer funds among Debtors and non-debtor entities in the ordinary course of
business as trade. Intercompany transfers are not reported by the Debtors as accounts receivable,
so do not appear in Schedules A/B. Any intercompany debts are recorded on Schedules E/F.

Specific Notes Regarding Schedule A/B

        1.     Schedule A/B-6 – Deposits and Prepayments. Deposit amounts are as of the
Petition Date and do not reflect any modifications made by the Debtors after the Petition Date or
any applications made by certain utilities after the Petition Date to pay for services provided by
them before the Petition Date.

         2.     Schedule A/B-8 –Prepayments, including prepayments on executory contracts,
leases, insurance, taxes, and rent. The Debtors have categorized their various prepayments by
type, and have employed the catch-all category titled “Prepaid Other” for any prepayments that do
not fit neatly under any other category. The types of prepayments categorized as “Prepaid Other”
include certain advances made under service agreements and professional fees.

       3.      Schedule A/B-15 – Stock and interests in incorporated and unincorporated
businesses. See Schedule Exhibit A/B-15 for additional businesses the Debtor was a parent of or
owned a significant interest in.

       4.     Schedule A/B-21 – Inventory, excluding agricultural assets. With respect to
inventory obsolescence reserves, the Company reserves 25% for any merchandise older than one
year. Furthermore, a lower cost of market reserve is calculated based on GAAP.

        5.      Schedules A/B-39, -40, -41, -43, -44, and -50 – Office and Business Equipment.
Certain of the Debtors’ office and business equipment, fixtures, machinery, furnishings, and
supplies are not capitalized based on its accounting policies and procedures. The Debtors generally
capitalize an asset if it has a life of more than 1 year and if it meets a certain dollar threshold in
accordance with the Debtors’ accounting policy. There may be certain assets that are not
capitalized because they did not meet the Debtors’ capitalization policy. Those assets that are not
capitalized are not listed herein.

        6.      Schedule A/B-55 – Real property. Although Gymboree Distribution, Inc. is the
named lessee counterparty on the lease and entered into with respect to the Debtors’ distribution
center located in Dixon, California and liable for rent and other payments thereunder, for financial
reporting purposes the Debtors’ interest in the lease is accounted for as a failed sale-leaseback.
Accordingly, despite the fact that Gymboree Distribution, Inc. is named on the lease the value of
the Debtors’ interest in this real property is reflected on the Schedules and Statements of other
Debtors.

        7.     Schedule A/B-63 – Customer lists, mailing lists, or other compilations. The Debtor
operates three retail store locations in Puerto Rico. The Schedule includes the value allocated to
the customer list associated with each store.




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        8.     Schedule A/B-65 – Goodwill. The Debtors implemented a series of organizational
changes as part of the plan of reorganization confirmed during the Prior Cases, and in connection
therewith the Debtors undertook a fair valuation of their assets and liabilities that resulted in the
creation of goodwill accounts for many of the Debtors upon their emergence from the Prior Cases.

        9.      Schedule A/B-72 – Tax refunds and unused net operating losses (NOLs). The
Debtors’ Schedule A/B may include certain tax refunds and unused state net operating losses
(“NOLs”) as set forth therein that have accrued and are available to offset future tax liabilities in
certain circumstances. Schedule A/B reflects the balance of the amount of a Debtor’s NOLs as of
February 3, 2018, and does not reflect any NOLs that such Debtor may accrue in the future,
including for the fiscal year ended February 2, 2019.




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Specific Notes Regarding Schedule D

         Except as otherwise agreed pursuant to a stipulation or agreed order or general order
entered by the Court, the Debtors reserve their rights to dispute or challenge validity, perfection,
or immunity from avoidance of any lien purported to be granted or perfected in any specific asset
to a secured creditor listed on Schedule D of any Debtor. Moreover, although the Debtors may
have scheduled claims of various creditors as secured claims, the Debtors reserve all rights to
dispute or challenge the secured nature of any such creditor’s claim or the characterization of the
structure of any such transaction or any document or instrument (including, without limitation, any
intercompany agreement) related to such creditor’s claim. Further, while the Debtors have
included the results of Uniform Commercial Code searches, the listing of such results is not nor
shall it be deemed an admission as to the validity of any such lien. Conversely, the Debtors made
reasonable, good faith efforts to include all liens on Schedule D, but may have inadvertently
omitted to include an existing lien because of, among other things, the possibility that a lien may
have been imposed after the Uniform Commercial Code searches were performed or a vendor may
not have filed the requisite perfection documentation. Moreover, the Debtors have not included on
Schedule D parties that may believe their Claims are secured through setoff rights or inchoate
statutory lien rights. Although there are multiple parties that may hold a portion of, or a beneficial
interest in, the debt included in the Debtors’ prepetition secured credit facility and secured loan,
only the administrative agents have been listed for purposes of Schedule D. The amounts listed as
outstanding under the Debtors’ prepetition loan facilities reflect approximate amounts as of the
Petition Date.

        In certain instances, a Debtor may be a co-obligor, co-mortgagor, or guarantor with respect
to scheduled claims of other Debtors, and no claim set forth on Schedule D of any Debtor is
intended to acknowledge claims of creditors that are otherwise satisfied or discharged by other
entities. The descriptions provided in Schedule D are intended only as a summary. Reference to
the applicable loan agreements and related documents is necessary for a complete description of
the collateral and the nature, extent, and priority of any liens. Nothing in the Global Notes or the
Schedules and Statements shall be deemed a modification or interpretation of the terms of such
agreements.

        Detailed descriptions of the Debtors’ prepetition debt structure and descriptions of
collateral relating to the debt contained on Schedule D are contained in the Declaration of Stephen
Coulombe, Chief Restructuring Officer of Gymboree Group, Inc., in Support of Chapter 11
Petitions and First Day Motions [Docket No. 11].

       In Schedule D, the Debtors’ prepetition loans are listed at their full principal amount plus
accrued interest as of the Petition Date. Schedule E/F does not include a potential deficiency claim
that may result from a partial recovery.

       Although the Debtors in these cases are distinct from the debtors in the Prior Cases, the
Debtors have attempted to include all creditors from the Prior Cases in the Schedules and
Statements of the Debtors. Accordingly, the Debtors have listed and carried forward any claims
that would have been included in the Schedule of a debtor from the Prior Cases in the Schedule of
the applicable Debtor in these cases.



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Specific Notes Regarding Schedule E/F

       1.      Creditors Holding Priority Unsecured Claims. The listing of any claim on Schedule
E/F does not constitute an admission by the Debtors that such claim is entitled to priority treatment
under section 507 of the Bankruptcy Code. The Debtors reserve all of their rights to dispute the
amount and/or the priority status of any claim on any basis at any time.

Schedule E/F for certain Debtors includes claims of former employees, including claims for
accrued and unpaid flexible time off. As reflected in the Debtors’ Schedule E/F, the Debtors are
not able to determine the portion of claims for flexible time off owed to former employees that is
entitled to priority treatment under section 507 of the Bankruptcy Code.

Certain of the claims listed on the Debtors’ Schedule E/F are claims owing to various governmental
and taxing authorities to which the Debtors may potentially be liable. However, certain of such
claims may be subject to on-going audits and the Debtors are otherwise unable to determine with
certainty the amount of many, if not all, of the remaining claims listed on Schedule E/F. Therefore,
the Debtors have listed all such claims as unknown in amount, pending final resolution of on-going
audits or other outstanding issues.

       2.     Creditors Holding Nonpriority Unsecured Claims. The Debtors have used their
reasonable best efforts to list all general unsecured claims against the Debtors on Schedule E/F
based upon the Debtors’ existing books and records.

Schedule E/F does not include certain deferred credits, deferred charges, deferred liabilities,
accruals, or general reserves. Such amounts are general estimates of liabilities and do not represent
specific claims as of the Petition Date; however, such amounts are reflected on the Debtors’ books
and records as required in accordance with GAAP. Such accruals are general estimates of liabilities
and do not represent specific claims as of the Petition Date. Schedule E/F does not include certain
reserves for potential unliquidated contingencies that historically were carried on the Debtors’
books as of the Petition Date; such reserves were for potential liabilities only and do not represent
actual liabilities as of the Petition Date.

The claims listed in Schedule E/F arose or were incurred on various dates. In certain instances, the
date on which a claim arose is an open issue of fact. Determining the date upon which each claim
in Schedule E/F was incurred or arose would be unduly burdensome and cost prohibitive and,
therefore, the Debtors do not list a date for each claim listed on Schedule E/F. Schedule E/F
contains information regarding potential and pending litigation involving the Debtors. In certain
instances, the Debtor that is the subject of the litigation is unclear or undetermined. To the extent
that litigation involving a particular Debtor has been identified, however, such information is
contained in the Schedule for that Debtor.

Schedule E/F reflects the prepetition amounts owing to counterparties to executory contracts and
unexpired leases. Such prepetition amounts, however, may be paid in connection with the
assumption, or assumption and assignment, of an executory contract or unexpired lease.




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In addition, Schedule E/F does not include rejection damage claims of the counterparties to the
executory contracts and unexpired leases that have been or may be rejected, to the extent such
damage claims exist.

Except in certain limited circumstances, the Debtors have not scheduled contingent and
unliquidated liabilities related to guaranty obligations on Schedule E/F. Such guaranties are,
instead, listed on Schedule H.

The claims of individual creditors for, among other things, goods, services, or taxes listed on the
Debtors’ books and records may not reflect credits or allowances due from such creditors.

The Debtors reserve all of their rights in respect of such credits or allowances. The dollar amounts
listed may be exclusive of contingent or unliquidated amounts.

Unless the Debtors were required to pay ancillary costs, such as freight, miscellaneous fees and
taxes, such costs are not included in the liabilities scheduled, as such amounts do not represent
actual liabilities of the Debtor.

As reflected in Schedule E/F, because the Debtors’ interest in the lease of the Dixon, California
distribution center is accounted for as a failed sale-leaseback, for financial reporting purposes
payments made by Gymboree Distribution, Inc. under the lease are recorded as principal and
interest expense payments.

        3.     Schedule – Intercompany. The Debtors maintain business relationships among each
other and with their foreign subsidiary based in Canada (the “Foreign Subsidiary”) resulting in
intercompany receivables and payables in the ordinary course of business. Such Intercompany
Claims arise (a) among the Debtors and (b) between the Debtors and the Foreign Subsidiary
pursuant to prepetition shared services and intercompany trade arrangements, and other
intercompany arrangements. The respective intercompany accounts payable and accounts
receivable are listed at the net amount due to/due from the Debtor as of January 15, 2019 on
Schedule E/F for each Debtor. Intercompany liabilities listed on the Schedules do not reflect any
entries made during the fiscal year close period that relate to charges incurred before the Petition
Date.

        4.      Schedule – Merchant Trade Payables. The Merchant Trade Payables listed on
Schedule E/F contain the pre-petition liability information available to the Debtors as of the date
of filing and do not include invoices that were paid subsequent to the Petition Date related to
prepetition obligations per the Final Order (I) Authorizing the Debtors to Pay Certain Prepetition
Claims of Critical Services Providers and (II) Granting Related Relief (the “Critical Services
Providers Order”) [Docket No. 379].

Furthermore, as part of the relief granted in Critical Services Providers Order, the Debtors will
continue to make payments towards outstanding prepetition obligations to certain service
providers, and the amounts scheduled are subject to change as future payments are made towards
the underlying obligations.




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        5.     Schedule –Other Trade Payables. The Other Trade Payables listed on Schedule E/F
contain the pre-petition liability information available to the Debtors as of the date of filing and do
not include invoices that were paid subsequent to the Petition Date related to prepetition
obligations per the: Final Order (I) Authorizing the Debtors to Pay Certain Prepetition Claims of
Critical Services Providers and (II) Granting Related Relief (the “Critical Services Providers
Order”) [Docket No. 379] and Final Order (I) Authorizing the Debtors to Pay Prepetition Claims
of Shippers, Warehousemen and Contractors and Import/Export Charges, and (II) Granting
Related Relief [Docket No. 380].




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Specific Notes Regarding Schedule G

        1.       Executory Contracts. While the Debtors’ existing books, records, and financial
systems have been relied upon to identify and schedule executory contracts at each of the Debtors,
and although commercially reasonable efforts have been made to ensure the accuracy of
Schedule G, inadvertent errors, omissions, or over inclusions may have occurred. The Debtors do
not make, and specifically disclaim, any representation or warranty as to the completeness or
accuracy of the information set forth on Schedule G. The Debtors hereby reserve all of their rights
to dispute the validity, status, or enforceability of any contract, agreement, or lease set forth in
Schedule G and to amend or supplement Schedule G as necessary. The contracts, agreements, and
leases listed on Schedule G may have expired or may have been modified, amended, or
supplemented from time to time by various amendments, restatements, waivers, estoppel
certificates, letters, memoranda, and other documents, instruments, and agreements that may not
be listed therein despite the Debtors’ use of reasonable efforts to identify such documents. Further,
unless otherwise specified on Schedule G, each executory contract or unexpired lease listed
thereon shall include all exhibits, schedules, riders, modifications, declarations, amendments,
supplements, attachments, restatements, or other agreements made directly or indirectly by any
agreement, instrument, or other document that in any manner affects such executory contract or
unexpired lease, without respect to whether such agreement, instrument or other document is listed
thereon.

       In some cases, the same supplier or provider may appear multiple times on Schedule G.
This multiple listing, if applicable, is intended to reflect distinct agreements between the applicable
Debtor and such supplier or provider.

        In the ordinary course of business, the Debtors may have issued numerous purchase orders
for supplies, product, and related items which, to the extent that such purchase orders constitute
executory contracts, are not listed individually on Schedule G. To the extent that goods were
delivered under purchase orders prior to the Petition Date, vendors’ claims with respect to such
delivered goods are included on Schedule E/F.

        As a general matter, certain of the Debtors’ executory contracts and unexpired leases could
be included in more than one category. In those instances, one category has been chosen to avoid
duplication. Further, the designation of a category is not meant to be wholly inclusive or
descriptive of the entirety of the rights or obligations represented by such contract.

        Certain of the executory contracts and unexpired leases listed on Schedule G may contain
certain renewal options, guarantees of payment, options to purchase, rights of first refusal, right to
lease additional space, and other miscellaneous rights. Such rights, powers, duties, and obligations
are not set forth separately on Schedule G. In addition, the Debtors may have entered into various
other types of agreements in the ordinary course of their business, such as easements, rights of
way, subordination, nondisturbance, and atonement agreements, supplemental agreements,
amendments/letter agreements, title agreements, and confidentiality agreements. Such documents
also are not set forth in Schedule G.

       The Debtors hereby reserve all of their rights, claims, and causes of action with respect to
the contracts and agreements listed on Schedule G, including the right to dispute or challenge the


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characterization or the structure of any transaction, document, or instrument related to a creditor’s
claim, to dispute the validity, status, or enforceability of any contract, agreement, or lease set forth
in Schedule G, and to amend or supplement Schedule G as necessary. Inclusion of any agreement
on Schedule G does not constitute an admission that such agreement is an executory contract or
unexpired lease and the Debtors reserve all rights in that regard, including, without limitation, that
any agreement is not executory, has expired pursuant to its terms, or was terminated prepetition.

        In addition, certain of the agreements listed on Schedule G may be in the nature of
conditional sales agreements or secured financings. The presence of a contract or agreement on
Schedule G does not constitute an admission that such contract or agreement is an executory
contract or unexpired lease. Certain of the contracts, agreements, and leases listed on Schedule G
may have been entered into by more than one of the Debtors. Further, the specific Debtor obligor
to certain of the executory contracts or unexpired leases could not be specifically ascertained in
every circumstance. In such cases, the Debtors used their best efforts to determine the correct
Debtor’s Schedule G on which to list such executory contract or unexpired lease.

       In the ordinary course of business, the Debtors have entered into numerous contracts or
agreements, both written and oral, regarding the provision of certain services on a month to month
basis. To the extent such contracts or agreements constitute executory contracts, these contracts
and agreements are not listed individually on Schedule G.

        Certain of the executory contracts may not have been memorialized and could be subject
to dispute; executory agreements that are oral in nature have not been included in Schedule G.

       In the ordinary course of business, the Debtors may have entered into confidentiality
agreements which, to the extent that such confidentiality agreements constitute executory
contracts, are not listed individually on Schedule G.

        Certain of the executory contracts and unexpired leases listed in Schedule G were assigned
to, assumed by, or otherwise transferred to certain of the Debtors in connection with, among other
things, acquisitions by the Debtors.

        The Debtors generally have not included on Schedule G any insurance policies, the
premiums for which have been prepaid. The Debtors submit that prepaid insurance policies are
not executory contracts pursuant to section 365 of the Bankruptcy Code because no further
payment or other material performance is required by the Debtors. Nonetheless, the Debtors
recognize that in order to enjoy the benefits of continued coverage for certain claims under these
policies, the Debtors may have to comply with certain non-monetary obligations, such as the
provision of notice of claims and cooperation with insurers. In the event that the Bankruptcy Court
were to ever determine that any such prepaid insurance policies are executory contracts, the
Debtors reserve all of their rights to amend Schedule G to include such policies, as appropriate.

       In addition, Schedule G does not include rejection damage claims of the counterparties to
the executory contracts and unexpired leases that have been or may be rejected, to the extent such
damage claims exist.

        Omission of a contract or agreement from Schedule G does not constitute an admission
that such omitted contract or agreement is not an executory contract or unexpired lease. The


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Debtors’ rights under the Bankruptcy Code with respect to any such omitted contracts or
agreements are not impaired by the omission.

        Certain of the agreements listed on Schedule G may have been entered into by or on behalf
of more than one of the Debtors. Additionally, the specific Debtor obligor(s) to certain of the
agreements could not be specifically ascertained in every circumstance. In such cases, the Debtors
have made reasonable efforts to identify the correct Debtors’ Schedule G on which to list the
agreement and, where a contract party remained uncertain, such agreements may have been listed
on a different Debtor’s Schedule G.




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Specific Notes Regarding Schedule H

Co-Debtors. In the ordinary course of their business, the Debtors pay certain expenses on behalf
of their subsidiaries. The Debtors may not have identified certain guarantees that are embedded in
the Debtors’ executory contracts, unexpired leases, secured financings, debt instruments, and other
agreements. Further, certain of the guarantees reflected on Schedule H may have expired or may
no longer be enforceable. Thus, the Debtors reserve their rights to amend Schedule H to the extent
that additional guarantees are identified or such guarantees are discovered to have expired or
become unenforceable.

In the ordinary course of their business, the Debtors may be involved in pending or threatened
litigation and claims arising out of certain ordinary course of business transactions.

These matters may involve multiple plaintiffs and defendants, some or all of whom may assert
cross-claims and counter-claims against other parties. Because such claims are contingent,
disputed, and/or unliquidated, such claims have not been set forth individually on Schedule H.

However, some such claims may be listed elsewhere in the Schedules and Statements.




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General Notes Regarding Statements of Financial Affairs

       1.     SOFA Part 1, Questions 1 and 2 - Gross Revenue from Business and Non-Business
Revenue. The Debtors’ Fiscal Year 2017 was for the 4-month period beginning September 29,
2017 and ending February 3, 2018. The Debtors’ current fiscal year is for the 12-month period
ending February 2, 2019.

The Debtors report revenue on a cash basis for the period beginning September 2017, when the
Debtors reorganized and established their current entity structure. Please refer to the SOFA Part
1, Question 1 from the Statements filed in the Prior Cases for revenue detail prior to September
2017.

       2.    SOFA Part 2, Question 3 – Payments or transfers made to creditors within 90 days
preceding commencement of this case. All disbursements are reported on a cash basis.

       3.       SOFA Part 3, Question 7 – Legal actions, administrative proceedings, etc. to which
the debtor is or was a party within one year of commencement of this case. An action may have
been commenced against multiple Debtors. Only the Debtor named in a given case title is the
Debtor for which such case is listed.

Any action commenced by or against The Gymboree Corporation has been assumed to be pending
in the name of Debtor Gymboree Group, Inc., and any action commenced by or against Gymboree
Retail Stores, Inc. has been assumed to be pending in the name of Debtor Gymboree Retail Stores,
LLC.

        4.     SOFA Part 6, Question 13 – Property transferred outside ordinary course of
business within 2 years preceding commencement of this case. On July 15, 2016, the Debtors’
predecessors in interest consummated a transaction (the “Play & Music Transaction”) to sell all
the equity of affiliate Gymboree Play Programs, Inc. (“GPPI”), together with assignments and
licenses to certain intellectual property used in connection with the Gymboree Play & Music
business, to Zeavion, a Singapore-based investment group. Upon closing the Play & Music
Transaction, Zeavion acquired the entire Gymboree Play & Music enterprise, including its central
operations and centers in North America.

As part of the plan of reorganization confirmed in the Prior Cases that became effective in
September 2017, Debtor Gymboree Group, Inc. purchased substantially all of the assets of The
Gymboree Corporation, including its subsidiaries. Please refer to the organization documents and
asset purchase agreement filed in connection with such plan in the Prior Cases for additional details
regarding this transaction.

       5.       SOFA Part 13, Question 17 – This does not include any welfare benefit or severance
plan subject to ERISA, and includes only tax-qualified plans subject to ERISA.

        6.     SOFA Part 10, Question 20 – Off-premises storage, used within 1 year preceding
commencement of this case. As of the Petition Date, approximately 140 shipping containers of the
Debtors’ merchandise were being held by United States Customs and Border Protection due to
certain vendors not submitting or providing the agency with appropriate paperwork. The Debtors



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expect that the vast majority, if not all, of such containers have been released since the Petition
Date.

        7.      SOFA Part 13, Question 25 – Other businesses in which the Debtor has or has had
an interest. The Debtors reorganized pursuant to a chapter 11 plan of reorganization that became
effective in the Prior Cases in September 2017. Please refer to the SOFAs filed in connection with
the Prior Cases for a more detailed history of interest by entity.

       8.      SOFA Part 13, Question 26a – Bookkeepers and accountants used within 2 years
of commencement of this case. Deloitte LLP performed certain services for the Debtors in fiscal
year 2018, but was not officially engaged at the time such services were rendered.

        9.      SOFA Part 13, Question 26d – Creditors and other parties to whom a financial
statement was issued within 2 years preceding commencement of this case. The Debtors routinely
provide financial statements to banks, customers, suppliers, tax authorities, landlords, factors,
potential investors, and other financial institutions in the ordinary course, as well as in association
with its debt restructuring efforts.

        10.    SOFA Part 13, Question 28 – Current Officers, Directors, Managing Members,
Controlling Shareholders, etc. The Debtors’ officers and directors do not currently hold any shares
in the Debtors, but the company has a management incentive plan.

       11.    SOFA Part 13, Question 30 – Payments, distributions, or withdrawals credited to
an insider within 1 year preceding commencement of this case. Payments listed in these
Statements exclude any health and dental benefits provided, and any employer taxes paid, by the
Debtors.

        12.     SOFA Part 13, Question 31 – Tax Consolidation Group, parent corporation of any
tax consolidation group of which debtor has been a member during the 6 years preceding
commencement of this case. In certain states, the Debtors may also file group returns in which
certain entities are named rather than Gymboree Holding Corp, according to state laws (for
example, “Gymboree Retail Stores, LLC, et al.”).




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 Fill in this information to identify the case:

 Debtor name            Gymboree Distribution, Inc.

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF VIRGINIA

 Case number (if known)               19-30250
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,444,181.73

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,444,181.73


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $     173,623,599.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       59,719,817.02


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $        233,343,416.02




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Gymboree Distribution, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)         19-30250
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                                                                            GYMBOREE
           3.1.     BANK OF AMERICA, N.A.                                   DISTRIBUTION, INC.              0935                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                           $0.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     PG&E - #5951-DIXON - Utility Deposit / Prepaid Utility                                                                        $127,630.00



                    TELEPACIFIC COMMUNICATIONS - STORE #5951/DIXON - Utility Deposit / Prepaid
           7.2.     Utility                                                                                                                            $250.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
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 Debtor           Gymboree Distribution, Inc.                                                 Case number (If known) 19-30250
                  Name




           8.1.     PREPAID IT MAINTENANCE                                                                                               $126,510.22




 9.        Total of Part 2.                                                                                                          $254,390.22
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:          Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:          Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Office furniture & fixtures, office equipment,
           computer hardware & software, & leasehold
           improvements.                                                             $708,183.64     NBV                                 $708,183.64



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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                Name


 43.       Total of Part 7.                                                                                                              $708,183.64
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used       Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value           debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Please refer to schedule G for a list of
                     the debtor's leases                                                    $0.00                                                   $0.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Material handling & other equipment.                                      $313,823.87     NBV                                  $313,823.87



 51.       Total of Part 8.                                                                                                           $313,823.87
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used      Current value of
           property                                       extent of           debtor's interest      for current value          debtor's interest
           Include street address or other                debtor's interest   (Where available)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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                Name

            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. DIXON
                     DISTRIBUTION
                     CENTER
                     2299 KIDS WAY
                     DIXON, CA 95620                                                   Unknown         N/A                                  Unknown




 56.        Total of Part 9.                                                                                                                   $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill
            Goodwill                                                               $1,019,000.00       Income Approach                            $0.00



 66.        Total of Part 10.                                                                                                                  $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

            UNUSED NOL - CA                                                                    Tax year 2018                            $167,784.00



 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                        $167,784.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 5
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                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $254,390.22

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $708,183.64

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $313,823.87

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $167,784.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,444,181.73            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,444,181.73




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
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 Fill in this information to identify the case:

 Debtor name          Gymboree Distribution, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)              19-30250
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
        See Attached Schedule D
 2.1                                                                                                                  $173,623,599.00                   Unknown
        Part 1                                        Describe debtor's property that is subject to a lien
        Creditor's Name




        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                          $173,623,599
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                  .00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
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                                                                                                      In re Gymboree Distribution, Inc.
                                                                                                              Case No. 19-30250
                                                                                     Schedule D: Part 1 - Creditors Who Have Claims Secured by Property




                                                                                                                        Insider or Related Party?




                                                                                                                                                                                                                                   Unliquidated
                                                                                                                                                                                                                      Contingent
                                                                                                                                                    CoDebtor




                                                                                                                                                                                                                                                   Disputed
                                                                                                                                                                                                                                                              Amount of Claim (Do not    Value of Collateral
                                                                                                    Last 4 Digits of                                             Date Debt was Incurred, Description of Debtor's                                               deduct the value of the   that Supports this
                 Creditor Name                                      Address                        Account Number                                               Property Subject to the Lien and the Nature of Lien                                                  collateral)               Claim
                                               BANK OF AMERICA, N.A. ONE FLEET
                                               WAY                                                                                                             5/1/15, PROPERTY DESCRIPTION: SALE LEASEBACK
                                               SCRANTON, PA 18507-1999                                                                                         FACILITY
BANK OF AMERICA, N.A.                          ATTN TRADE OPERATION DEPARTMENT                                 8760 N/A No                                     BENEFICIARY: DIXON VAUGHN HOLDINGS, LLC                 X            X               X                   $3,500,000.00 UNDETERMINED
                                               100 FEDERAL ST.
BANK OF AMERICA, NA, AS ADMINISTRATIVE AGENT   BOSTON, MA 02110                                                                                                9/29/17, PROPERTY DESCRIPTION: ABL REVOLVER
TO THE ABL REVOLVER                            ATTN: C.J. CASSIDY                                              0026 N/A Yes                                    SECURED BY UCC LIEN                                                                                     $81,079,085.00 UNDETERMINED
                                               GOLDMAN SACHS SPECIALTY LENDING GROUP, L.P.
GOLDMAN SACHS SPECIALTY LENDING GROUP, L.P.    2001 ROSS AVE, SUITE 2800                                                                                       9/29/17, PROPERTY DESCRPITION: TERM LOAN
(DALLAS, TEXAS), AS COLLATERAL AGENT           DALLAS, TX 75201                                                        N/A Yes                                 SECURED BY UCC LIEN                                                                                     $89,044,514.00 UNDETERMINED

                                                                                                                                                                                                                                                  TOTAL:             $173,623,599.00




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 Fill in this information to identify the case:

 Debtor name         Gymboree Distribution, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)           19-30250
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $59,719,817.02
           Attached Schedule E/F Part 2                                         Contingent
                                                                                Unliquidated
           Date(s) debt was incurred                                            Disputed
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                            0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                   59,719,817.02

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                      59,719,817.02




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 1
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                                                                               In re Gymboree Distribution, Inc.
                                                                                       Case No. 19-30250
                                                                                      Schedule E/F: Part 2




                                                                                                                                                                                                               Claim subject to offset?
                                                                                                                                                                                     Unliquidated
                                                                                                                                                                        Contingent




                                                                                                                                                                                                    Disputed
                                                                                                          Last 4 Digits of
                                Creditor Name                        Address                             Account Number       Date Debt was Incurred, Basis for Claim                                                                      Total Claim
                                                  PO BOX 31001-2374
ALLIED UNIVERSAL                                  PASADENA CA 91110-2374                               6065                  Other-Outside Services                                                                                           $51,140.53
                                                  2655 FORTUNE CIR W STE E
COMFORT SYSTEMS USA                               INDIANAPOLIS IN 46241-5546                           4132                  Other-R&M                                                                                                        $67,793.98
                                                  PO BOX 67000
                                                  DEPT 149301
CONTROLLED POWER COMPANY                          DETROIT MI 48267-1493                                3622                  Other-R&M                                                                                                           $355.00
                                                  PO BOX 105249
DIRECTV                                           ATLANTA GA 30348-5249                                4576                  Other-Outside Services                                                                                              $173.22
                                                  101 YGNACIO VALLEY ROAD STE 450
                                                  ATTN: ANTHONY PERINO, PRESIDENT
DIXON - Dixon Vaughn Holding, LLC                 WALNUT CREEK CA 94596                                                      Prepetition Rent & Related Liabilities      X             X             X                                         Unknown
                                                  1505 N FIRST STREET
DIXON HARDWARE & LUMBER                           DIXON CA 95620                                       1738                  Other-R&M                                                                                                            $66.80
                                                  851 NORTH FIRST ST.
DIXON RENTAL CENTER                               DIXON CA 95620                                       3467                  Other-Supplies                                                                                                      $192.10
                                                  215 S STATE ST
                                                  STE 380
DIXON VAUGHN HOLDINGS INC                         SALT LAKE CITY UT 84111                              4483                  Interest Expense                            X             X             X                                         Unknown
                                                  309 S.CLOVERDALE
                                                  E-5
FIRST AID SUPPLIES ONLINE                         SEATTLE WA 98108                                     9769                  Other-Supplies                                                                                                      $282.90
                                                  P.O. BOX 712
GARY'S LANDSCAPING & MAINTENANCE                  DIXON CA 95620                                       0142                  Other-R&M                                                                                                         $1,400.00
                                                  100 GRAINGER PARKWAY
                                                  DEPT. 729 - 845958610
GRAINGER, INC.                                    LAKE FOREST IL 60045                                 6034                  Other-R&M                                                                                                         $9,306.44
                                                  71 STEVENSON STREET, 22ND FLOOR
Gymboree Group, Inc                               SAN FRANCISCO CA 94105                                                     Intercompany Liability                                                                                        $8,467,432.60
                                                  71 STEVENSON STREET, 22ND FLOOR
Gymboree Manufacturing, Inc                       SAN FRANCISCO CA 94105                                                     Intercompany Liability                                                                                       $50,575,487.94
                                                  71 STEVENSON STREET, 22ND FLOOR
Gymboree Wholesale, Inc.                          SAN FRANCISCO CA 94105                                                     Intercompany Liability                                                                                            $2,032.76
                                                  10235 SYSTEMS PARKWAY
                                                  SUITE B
INDUSTRIAL DOOR COMPANY                           SACRAMENTO CA 95827                                  0390                  Other-R&M                                                                                                         $1,744.20
                                                  P.O BOX 21428
                                                  DEPT. LA 21428
INTERSTATE OIL COMPANY                            PASADENA CA 91185-1428                               4737                  Other-Supplies                                                                                                      $868.95
                                                  2050 CESSNA DR
NORTH BAY DISTRIBUTION, INC                       VACAVILLE CA 95688                                   6525                  Other-Outside Services                                                                                         $272,323.23
                                                  PO BOX 11210
PRUDENTIAL OVERALL SUPPLY                         SANTA ANA CA 92711-1210                              2577                  Other-Supplies                                                                                                    $1,020.82
                                                  6978 SIERRA COURT
PVS VENDING                                       DUBLIN CA 94568                                      0290                  Other-Outside Services                                                                                           $10,355.90
                                                  PO BOX 123427
                                                  DEPT 3427, LOCKBOX 893427
QUINCY COMPRESSOR LLC                             DALLAS TX 75312-3427                                 1782                  Other-R&M                                                                                                         $2,300.00

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                                                                             In re Gymboree Distribution, Inc.
                                                                                     Case No. 19-30250
                                                                                    Schedule E/F: Part 2




                                                                                                                                                                                                             Claim subject to offset?
                                                                                                                                                                                   Unliquidated
                                                                                                                                                                      Contingent




                                                                                                                                                                                                  Disputed
                                                                                                        Last 4 Digits of
                            Creditor Name                          Address                             Account Number       Date Debt was Incurred, Basis for Claim                                                                      Total Claim
                                              1515 SOUTH RIVER ROAD
RAMOS ENVIRONMENTAL SERVICES                  WEST SACRAMENTO CA 95691                               8171                  Other-R&M                                                                                                           $566.05
                                              8636 ELDER CREEK RD #1
RAPID INFORMATION DESTRUCTION SERVICES        SACRAMENTO CA 95828                                    8601                  Other-Outside Services                                                                                               $48.00
                                              41400 BOYCE ROAD
RAYMOND HANDLING CONCEPTS CORP                FREMONT CA 94538                                       5118                  Other-R&M                                                                                                        $65,636.10
                                              1 TOWN SQUARE PL
RECOLOGY DIXON                                VACAVILLE CA 95688-3928                                1792                  Prepetition Rent & Related Liabilities                                                                            $4,435.14
                                              11385 SUNRISE PARK DRIVE
                                              SUITE 100
RENEW PACKAGING SOLUTIONS                     RANCHO CORDOVA CA 95742                                5198                  Other-Supplies                                                                                                   $41,633.15
                                              3820 CYPRESS DR.
                                              SUITE 2
STAR STAFFING                                 PETALUMA CA 94954                                      2054                  Other-Outside Services                                                                                           $76,500.74
                                              125 EAST A. STREET
THE PRINTING SHOP                             DIXON CA 95620                                         5782                  Other-Supplies                                                                                                      $574.46
                                              12575 ULINE DRIVE
ULINE                                         PLEASANT PRARIE WI 53158                               0549                  Other-R&M                                                                                                        $10,329.02
                                              901 MERCHANT STREET
VACA SAFE & LOCK COMPANY                      VACAVILLE CA 95688                                     0550                  Other-R&M                                                                                                           $438.47
                                              7500 AMIGOS AVENUE
VERITIV OPERATING COMPANY                     DOWNEY CA 90242                                        5958                  Other-Supplies                                                                                                   $55,378.52
                                                                                                                                                                                                             Total:                     $59,719,817.02




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                                                                     Document      Page 36 of 41
 Fill in this information to identify the case:

 Debtor name         Gymboree Distribution, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)         19-30250
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                         See Attached Schedule G
                   government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                                                                             In re Gymboree Distribution, Inc.
                                                                                    Case No. 19-30250
                                                                   Schedule G: Executory Contracts and Unexpired Leases


                                                                                                                                                                                      List Contract Number
                                                                                                           Description of Contract or Lease and   Date of Contract                     of Any Government
              Contract Counterparty                               Address                                      Nature of Debtor's Interest           or Lease        Remaining Term          Contract
                                        C/O CUSHMAN AND WAKEFIELD OF CALIFORNIA INC.
                                        525 MARKET ST, SUITE 1870
KNICKERBOCKER PROPERTIES, INC. XXXIII   SAN FRANCISCO CA 94105                                            REAL PROPERTY LEASE




                                                                                          1 of 1
            Case 19-30250-KLP                         Doc 6           Filed 03/01/19 Entered 03/01/19 21:35:29                 Desc Main
                                                                     Document      Page 38 of 41
 Fill in this information to identify the case:

 Debtor name         Gymboree Distribution, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)         19-30250
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      See Attached                                                                         See Attached                      D   2.1
             Schedule H                                                                           Schedule D Part 1                 E/F
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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                                                         In re Gymboree Distribution, Inc.
                                                                Case No. 19-30250
                                                              Schedule H: Codebtors

                                                                                                                            Applicable Schedules
         Name of Codebtor                   Address                                          Name of Creditor                    (D, E/F, G)
                                   71 STEVENSON STREET STE.
                                   2200, 415-278-7000, SAN     BANK OF AMERICA, NA, AS ADMINISTRATIVE AGENT TO THE ABL
Gyboree Intermediate Corporation   FRANCISCO, CA 94105         REVOLVER                                                D
                                   71 STEVENSON STREET STE.
                                   2200, 415-278-7000, SAN     BANK OF AMERICA, NA, AS ADMINISTRATIVE AGENT TO THE ABL
Gymboree Group, Inc.               FRANCISCO, CA 94105         REVOLVER                                                D
                                   71 STEVENSON STREET STE.
                                   2200, 415-278-7000, SAN     BANK OF AMERICA, NA, AS ADMINISTRATIVE AGENT TO THE ABL
Gymboree Retail Stores LLC         FRANCISCO, CA 94105         REVOLVER                                                D
                                   71 STEVENSON STREET STE.
                                   2200, 415-278-7000, SAN     BANK OF AMERICA, NA, AS ADMINISTRATIVE AGENT TO THE ABL
Gym-Card LLC                       FRANCISCO, CA 94105         REVOLVER                                                D
                                   71 STEVENSON STREET STE.
                                   2200, 415-278-7000, SAN     BANK OF AMERICA, NA, AS ADMINISTRATIVE AGENT TO THE ABL
Gymboree Manufacturing Inc.        FRANCISCO, CA 94105         REVOLVER                                                D
                                   71 STEVENSON STREET STE.
                                   2200, 415-278-7000, SAN     BANK OF AMERICA, NA, AS ADMINISTRATIVE AGENT TO THE ABL
Gymboree Operations, Inc.          FRANCISCO, CA 94105         REVOLVER                                                D
                                   71 STEVENSON STREET STE.
                                   2200, 415-278-7000, SAN     BANK OF AMERICA, NA, AS ADMINISTRATIVE AGENT TO THE ABL
Gym-Mark, Inc.                     FRANCISCO, CA 94105         REVOLVER                                                D
                                   71 STEVENSON STREET STE.
                                   2200, 415-278-7000, SAN     BANK OF AMERICA, NA, AS ADMINISTRATIVE AGENT TO THE ABL
Gymboree Wholesale, Inc.           FRANCISCO, CA 94105         REVOLVER                                                D
                                   71 STEVENSON STREET STE.
                                   2200, 415-278-7000, SAN
Gymboree Group, Inc.               FRANCISCO, CA 94105         DIXON VAUGHN HOLDINGS, LLC.                                  G



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                                                         In re Gymboree Distribution, Inc.
                                                                Case No. 19-30250
                                                              Schedule H: Codebtors

                                                                                                                            Applicable Schedules
         Name of Codebtor                   Address                                          Name of Creditor                    (D, E/F, G)
                                   71 STEVENSON STREET STE.
                                   2200, 415-278-7000, SAN     GOLDMAN SACHS SPECIALTY LENDING GROUP, L.P. (DALLAS,
Gyboree Intermediate Corporation   FRANCISCO, CA 94105         TEXAS), AS COLLATERAL AGENT                                  D
                                   71 STEVENSON STREET STE.
                                   2200, 415-278-7000, SAN     GOLDMAN SACHS SPECIALTY LENDING GROUP, L.P. (DALLAS,
Gymboree Group, Inc.               FRANCISCO, CA 94105         TEXAS), AS COLLATERAL AGENT                                  D
                                   71 STEVENSON STREET STE.
                                   2200, 415-278-7000, SAN     GOLDMAN SACHS SPECIALTY LENDING GROUP, L.P. (DALLAS,
Gymboree Retail Stores LLC         FRANCISCO, CA 94105         TEXAS), AS COLLATERAL AGENT                                  D
                                   71 STEVENSON STREET STE.
                                   2200, 415-278-7000, SAN     GOLDMAN SACHS SPECIALTY LENDING GROUP, L.P. (DALLAS,
Gym-Card LLC                       FRANCISCO, CA 94105         TEXAS), AS COLLATERAL AGENT                                  D
                                   71 STEVENSON STREET STE.
                                   2200, 415-278-7000, SAN     GOLDMAN SACHS SPECIALTY LENDING GROUP, L.P. (DALLAS,
Gymboree Manufacturing Inc.        FRANCISCO, CA 94105         TEXAS), AS COLLATERAL AGENT                                  D
                                   71 STEVENSON STREET STE.
                                   2200, 415-278-7000, SAN     GOLDMAN SACHS SPECIALTY LENDING GROUP, L.P. (DALLAS,
Gymboree Operations, Inc.          FRANCISCO, CA 94105         TEXAS), AS COLLATERAL AGENT                                  D
                                   71 STEVENSON STREET STE.
                                   2200, 415-278-7000, SAN     GOLDMAN SACHS SPECIALTY LENDING GROUP, L.P. (DALLAS,
Gym-Mark, Inc.                     FRANCISCO, CA 94105         TEXAS), AS COLLATERAL AGENT                                  D
                                   71 STEVENSON STREET STE.
                                   2200, 415-278-7000, SAN     GOLDMAN SACHS SPECIALTY LENDING GROUP, L.P. (DALLAS,
Gymboree Wholesale, Inc.           FRANCISCO, CA 94105         TEXAS), AS COLLATERAL AGENT                                  D




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